Case: 20-2058   Document: 33 Page:
          Case 1:20-cv-11600-LTS    1  Date
                                 Document 33 Filed:
                                              Filed 05/20/2021  Entry
                                                    05/20/21 Page 1 of ID:
                                                                        1 6423414




               United States Court of Appeals
                               For the First Circuit
 No. 20-2058
                        COMMONWEALTH OF MASSACHUSETTS

                                     Plaintiff - Appellee

                                              v.

  PHILIP H. ROSENFELT, in his official capacity as Secretary of the United States Department
             of Education; UNITED STATES DEPARTMENT OF EDUCATION

                                   Defendants - Appellants


                                        MANDATE

                                    Entered: May 20, 2021

        In accordance with the judgment of May 20, 2021, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                            By the Court:

                                            Maria R. Hamilton, Clerk


 cc:
 Annapurna Balakrishna
 Jonathan T. Burke
 Abrisham Eshghi
 Alisa Beth Klein
 Donald Campbell Lockhart
 Michael Shih
 Abigail Taylor
